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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
cORTEZ FISHER,
PETITIONER, CRIMINAL#JFM 07-0518
VS. CIVIL NO#JFM 10-0706
UNITED STATES OF AMERICA
RESPONDENT.
PETITIONER'S RESPONSE TO
GOVERNMENT'S ANSWER TO
vACATE SENTENCE
NOW COMES PETITIONER, CORTEZ FISHER, PRO SE, WHO FILES
THIS TRAVERSE IN RESPONSE TO THE GOVERNMENT'S ANSWER FILED ON
JUNE 14TH , 2010.
PETITIONER RESPONDS BY wAY OF LEGAL ARGUMENT AND PRESENTS
SUCH ARGUMENTS ATTACHED HERETO IN SUPPORT OF HIS REQUEST THAT
THIS HONORABLE COURT DISMISS THE INDICTMENT WITH PREJUDICE
BASED ON THE OUTRAGEOUS MISCONDUCT COMMITTED BY THE
GOVERNMENT AND ITS AGENTS DURING THE ARREST STAGE, THE
INDICTMENT STAGE, AND AFTER THE SENTENCING STAGE.
PETITIONER, FISHER SHALL RELY ON THE PROCEDURAL HISTORY
AS OUTLINED IN THE GOVERNMENT'S BRIEF FOR THE PURPOSE OF
OUTLINING THE HISTORY AND STATEMENT OF THE FACTS LEADING UP TO
THE FILING OF THIS HABEAS PETITION.
RESPECTFULL SUBMITTED,
LF¢\MZF/ -¢S¢é//
CORTEZ7%ISHER #41427-037
F.C.I. FAIRTON - BOX 420

FAIRTON, NEW JERSEY 08320

DATED= > -/Z'/zolo

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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MARYLAND

CORTEZ FISHER, CRIMINAL #JFM 07-0518
PETITIONER, CIVIL #JFM lO-O706
VS.
UNITED STATES OF AMERICA

RESPONDENT.

TRAVERSE
'LEGAL DISCUSSION'

PETITIONER, CORTEZ FISHER, PRO SE, SUBMITS THAT THE
RESPONDENTS BY WAY OF ANSWER TO HIS §2255 MOTION SEEKING
HABEAS CORPUS RELIEF HAVE MISAPPREHENDED THE EXACT RELIEF HE
SEEKS IN THIS MATTER. TO BEGIN WITH, THE GOVERNMENT ASSERTS
THAT FISHER'S ARGUMENT IS BASICALLY A "BRADY" ISSUE.
PETITIONER FISHER SUBMITS THAT SUCH ARGUMENT IS MISPLACED
BECAUSE FISHER ONLY RAISES THE BRADY ARGUMENT IN THE LAST
PORTION OF HIS LETTER MOTION DATED MARCH 15, 2010. (SEE
EXHIBIT - "A", "MOTION FOR DISMISSAL OF INDICTMENT". THIS
ISSUE WHILE WORTHY OF CONSIDERATION IS NOT THE PREDICATE
ARGUMENT UPON WHICH RELIEF IS BASED, BUT IS MERELY ONE OF THE
ISSUES WHICH STANDING ALONE OR USED IN A CUMULATIVE MATTER
WITH THE OTHER HEREIN MENTIONED ARGUMENTS AMOUNTS TO EGREGIOUS
MISCONDUCT BY THE GOVERNMENT. FISHER LASTLY, SUBMITS THAT THE
GOVERNMENT SEEKS TO RETURN PROPERTY TO FISHER WHICH WAS STOLEN
BY AGENT LUNSFORD, AN TO THIS END THE GOVERNMENT HAS INDICATED
IN SUCH ANSWER THAT FISHER MUST PRESENT THE GOVERNMENT WITH A

DETAILED LIST OF ITEMS WHICH WERE UNLAWFULLY CONVERTED BY TFO

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LUNSFORD, SO THAT ANY PROPERTY IN THE GOVERNMENT'S POSSESSION
THAT CAN BE IDENTIFIED AS BELONGING TO FISHER WILL BE
RETURNED. ID. AT PAGE 7 & 8 OF GOVERNMENT'S ANSWER. FISHER
SUBMITS THAT NOT ONLY IS HE SEEKING THE RETURN OF HIS WATCH
AND OTHER PROPERTY STOLEN BY TFO LUNSFORD, BUT THAT PETITIONER
SEEKS A COPY OF THE LIST OF ITEMS SEIZED FROM TFO LUNSFORD'S
HOUSE AT THE TIME OF HIS ARREST IN ORDER TO PROVE THAT TFO
LUNSFORD ACTIONS IN REGARD TO CRIMINAL MISCONDUCT OCCURRED
PRIOR TO FISHER'S ARREST AND CONTINUED AFTER FISHER'S ARREST,
AND INVOLVED THE BURGLARY OF FISHER'S APARTMENT BY AGENT
LUNSFORD WHO RETURNED AND STOLE SUCH ITEMS AFTER THE ARREST
WARRANT WAS SERVED AND FISHER WAS ARRESTED. IN ORDER TO PROVE
THIS FISHER REQUESTS THAT THE GOVERNMENT TURN OVER SUCH LIST
OF PROPERTY SEIZED SO THAT FISHER MAY PERUSE SUCH FOR EVIDENCE
OF PERSONAL ITEMS STOLEN FROM HIM. DUE TO THE PASSAGE OF TIME
THAT SUCH EVENT OCCURRED ON THERE ARE CERTAIN ITEMS THAT
FISHER MAY NOT RECALL WITHOUT HAVING AN OPPORTUNITY TO REVIEW
THE LIST OF ITEMS SEIZED FROM TFO LUNSFORD'S HOUSE. FISHER HAS
SUBMITTED A COPY OF PICTURE'S TAKEN OF THE WATCH WHICH HE
ALLEGES TFO LUNSFORD UNLAWFULLY CONVERTED TO HIS PRIVATE USE.
SEE EXHIBIT - "B", "COLOR PHOTO OF WATCH STOLEN".

PETITIONER, FISHER, PRO SE, NOW SUBMITS THE FOLLOWING
LEGAL ARGUMENT IN RESPONSE TO THE GOVERNMENT'S ANSWER.

LEGAL ARGUMENT
(A) COURT MUST EXERCISE SUPERVISORY POWER
AND DISMISS INDICTMENT BASED ON
EGREGIOUS GOVERNMENT MISCONDUCT

IN THE TOTAL LEGAL PROCEEDINGS.

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THE UNITED STATES SUPREME COURT HAS RECOGNIZED THAT AN
INDICTMENT MAY BE QUASHED ON THE BASIS OF PROSECUTORIAL
MISCONDUCT, WHERE THE GOVERNMENT'S MISDEEDS "SUBSTANTIALLY
INFLUENCED THE GRAND JURY'S DECISION TO INDICT, ' oR 1F THERE
IS 'GRAVE DOUBT' THAT THE DECISION TO INDICT WAS FREE FROM
SUBSTANTIAL INFLUENCE OF SUCH vIOLATIONS". BANK OF NOVA
SCOTIA, 487 U.S AT 256 (QUOTING MECHANIK, 475 U.S. AT 78).

GUIDED BY CONSIDERATIONS OF JUSTICE AND IN THE EXERCISE
oF SUPERVISORY POWERS, FEDERAL cOURTs MAY, WITHIN LIMITS,
FORMULATE PROCEDURAL RULES NOT SPECIFICALLY REQUIRED BY THE
CONSTITUTION OR THE CONGRESS. MCNABB v. UNITED STATES, 87 L ED
819 (1943). THE PURPOSES UNDERLYING USE OF THE SUPERVISORY
POWERS ARE THREEFOLD; TO IMPLEMENT A REMEDY FOR vIOLATION OF
RECOGNIZED RIGHTS, MCNABB, SUPRA. AT 340; REA v. UNITED
STATES, 100 L. ED 233 (1956); TO PRESERVE JUDICIAL INTEGRITY
BY ENSURING THAT A CONVICTION RESTS ON APPROPRIATE
CONSIDERATIONS vALIDLY BEFORE THE JURY; ELKINS v. UNITED
sTATES, 4 L. ED 20 1669 (1960); AND FINALLY, AS A REMEDY
DESIGNED TO DETER ILLEGAL CONDUCT, UNITED STATES v. PAYNER, 65
L. ED 20 468 (1980).

THE QUESTION THIS REVIEWING cOURT MUST ASK IS THIS=
ABSENT THE CONSTITUTIONAL VIOLATIONS COMMITTED BY THE
GOVERNMENT AND ITS AGENT(S), 15 IT CLEAR BEYOND A REASONABLE
DOUBT THAT THE GOVERNMENT wOULD HAVE BEEN ABLE TO SUSTAIN ITS
BURDEN OF ESTABLISHING PROBABLE CAUSE AND/OR GUILT? THIS COURT
MUST BEGIN wITH THE REALITY THAT AGENT LUNSFORD LIED TO A
STATE JUDGE BY SUBMITTING A FALSE AFFIDAVIT UNDER OATH WHICH
CONTAINED DELIBERATE MISSTATEMENTS AND FALSEHOODS

INTENTIONALLY FOR THE PURPOSE OF OBTAINING A WARRANT TO SEARCH

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FISHER'S APARTMENT. THIS WAS A CLEAR VIOLATION OF FISHER'S
RIGHT AGAINST UNREASONABLE SEARCH AND SEIZURE BECAUSE
"PROBABLE CAUSE" DID NOT EXIST. SECOND, AGENT LUNSFORD
COMMITTED PERJURY TO A FEDERAL GRAND JURY WHEN HE
INTENTIONALLY TESTIFIED UNDER OATH TO THE FACTS IN HIS
WARRANT AFFIDAVIT AND POLICE REPORTS AS BEING TRUE. WHEN IN
FACT, HE PURPOSELY MISLED SUCH GRAND JURY WITH MISINFORMATION
WHICH WAS KNOWN BY TFO LUNSFORD TO BE UNTRUE. THIS MISCONDUCT
SIGNIFICANTLY INFRINGED ON THE FEDERAL GRAND JURY'S ABILITY TO
EXERCISE INDEPENDENT JUDGMENT. THIS MISCONDUCT HAS COMPROMISED
THE STRUCTURAL PROTECTIONS OF THE GRAND JURY AS TO RENDER THE
PROCEEDINGS FUNDAMENTALLY UNFAIR AND SO AS TO SEVERELY
PREJUDICE THE PETITIONER. AND, LASTLY, THE GOVERNMENT HAS
COMMITTED A "BRADY" VIOLATION BECAUSE THEY WERE ARMED WITH
SUCH EVIDENCE OF TFO LUNSFORD'S MISCONDUCT FOR OVER A YEAR AND
YET WITHHELD SUCH FROM PETITIONER FISHER IN AN ATTEMPT TO
ALLOW HIS TIME LIMITATIONS OF ONE YEAR TO FILE A §2255 HABEAS
CORPUS TO EXPIRE AND THUS, CAUSE A PROCEDURAL DEFAULT OF THE
ISSUES.
IT IS WORTH NOTING THAT HAD FISHER NOT FILED A §2255 HABEAS
CGRPUS PETITION HE STILL WOULD NOT KNOW ABOUT TFO LUNSFORD'S
MISCONDUCT AND PROFFER STATEMENTS TO THE GOVERNMENT. THUS,
WILLFUL WITHHOLDING OF EVIDENCE UNDER "BRADY" IS CLEARLY
ESTABLISHED BY THE GOVERNMENT'S ACTION OR INACTION IN THIS
MATTER.

PETITIONER HAS SHOWN THROUGH EVIDENCE AND ARGUMENTS
SUBMITTED HEREIN THAT RELIEF FROM THE ERRONEOUS INDICTMENT

SHOULD BE GRANTED BECAUSE DEFECTS SO FUNDAMENTAL HAVE CAUSED

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THE GRAND JURY TO NO LONGER BE A GRAND JURY, AND THE
INDICTMENT TO NO LONGER BE AN INDICTMENT, WHICH GIVES RISE TO
THE CONSTITUTIONAL RIGHT TO NO LONGER BE TRIED. SEE - MIDLAND
ASPHALT CORP. V. UNITED STATES, 103 L. ED 2D 879 (1989). THE
GOVERNMENT ALSO COMMITTED A "FRANKS V. DELAWARE, 438 U.S. 154
(1971), VIOLATION WHEN TFO LUNSFORD COMMITTED MATERIAL PERJURY
AN RECKLESSNESS WHEN HE INTENTIONALLY MADE A FALSE STATEMENT
WITH RECKLESS DISREGARD FOR THE TRUTH IN HIS WARRANT
APPLICATION. SUCH FALSE INFORMATION WAS ESSENTIAL TO THE
PROBABLE CAUSE DETERMINATION, AND THAT WHEN THE MATERIAL
WHICH IS THE SUBJECT OF THE ALLEGED FALSITY OR RECKLESS
DISREGARD IS SET TO ONE SIDE, THERE DOES NOT REMAIN SUFFICIENT
CONTENT IN THE WARRANT AFFIDAVIT TO SUPPORT A FINDING OF
PROBABLE CAUSE. "FRANKS" PROTECTS AGAINST OMISSIONS THAT ARE
DESIGNED TO MISLEAD, OR THAT ARE MADE IN RECKLESS DISREGARD OF
WHETHER THEY WOULD MISLEAD, THE MAGISTRATE. SEE UNITED STATES
V. REIVICH, 739 F.2D 957, 961 (STH CIR. 1986)(PETITIONER
ENTITLED TO "FRANKS" RULING WHEN HE HAS SHOWN THAT THE
OMISSION IS THE PRODUCT OF A "DELIBERATE FALSEHOOD OR OF A
RECKLESS DISREGARD FOR THE TRUTH"). FRANKS, 438 U.S AT 171.
THE AFFIRMATIVE INCLUSION OF FALSE INFORMATION IN AN AFFIDAVIT
PRESENTS A QUESTION OF IMPERMISSIBLE OFFICIAL
CONDUCT.ESPECIALLY HERE, WHERE THE COURT POSSESSES EVIDENCE

THAT AGENT LUNSFORD HAD THE REQUISITE INTENT TO MISLEAD. WHEN

A STATE OR FEDERAL AGENT HAS VIOLATED THE RULES GOVERNING
SEARCHES AND SEIZURES PRESCRIBED BY THIS COURT AND MADE
EFFECTIVE AFTER SUBMISSION TO CONGRESS, THE POWER OF THE

FEDERAL COURT EXTENDS TO POLICING THOSE REQUIREMENTS AND

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MAKING CERTAIN THAT THEY ARE OBSERVED. FEDERAL COURTS SIT TO
ENFORCE FEDERAL LAW; AND FEDERAL LAW EXTENDS TO THE PROCESS
ISSUING FROM STATE COURTS ALSO. THE OBLIGATION OF A FEDERAL
AGENT IS TO OBEY THE RULES. THEY ARE DRAWN FOR THE INNOCENT
AND GUILTY ALIKE. THEY PRESCRIBE STANDARDS FOR LAW
ENFORCEMENT. THEY ARE DESIGNED TO PROTECT THE CITIZEN, UNLESS
THE STRICT STANDARDS SET FOR SUCH CONSTITUTIONAL IMPOSEMENT
ARE SATISFIED. THAT POLICY WOULD BE DEFEATED IF LAW
ENFORCEMENT CAN CIRCUMVENT THEM AND USE THE FRUITS OF SUCH
UNLAWFUL ACTS EITHER IN FEDERAL OR STATE PROCEEDINGS.
PETITIONER, CORTEZ FISHER, PRO SE, CONTENDS THAT THE
TOTALITY OF THE GOVERNMENT'S ACTIONS IN THIS MATTER RISES TO
THE LEVEL OF EGREGIOUS MISCONDUCT, AND THAT THIS IS A
SUFFICIENT FINDING ON WHICH THE COURT CAN EXERCISE ITS
SUPERVISORY POWER BASED UPON THE GOVERNMENT'S ACTIONS BEING SO
OUTRAGEOUS AS TO OFFEND THE SENSIBILITIES OF THE COURT.
PETITIONER FISHER SUBMITS THAT THE HARM IS OBVIOUS.
PETITIONER WAS DEPRIVED OF HIS CONSTITUTIONAL RIGHTS UNDER THE
FOURTH AMENDMENT, THE FOURTEENTH AMENDMENT, AND THE FIFTH
AMENDMENT TO THE UNITED STATES CONSTITUTION. AS A RESULT OF
THAT DENIAL, PETITIONER WAS AND STILL IS UNLAWFULLY CONFINED
UNDER COLOR OF LAW. HERE THERE IS A PATTERN OF MISCONDUCT
WHICH IS SUFFICIENT WHEN JOINED WITH THE PREJUDICE TO THE
PETITIONER TO JUSTIFY DISMISSAL OF THE INDICTMENT.
NOTWITHSTANDING THAT THE REQUIREMENT FOR PREJUDICE IS
QUALIFIED IF THE MISCONDUCT IS PLAINLY IMPROPER, INDISPUTABLY
OUTRAGEOUS, AND NOT REDRESSABLE THROUGH THE UTILIZATION OF
LESS DRASTIC DISCIPLINARY TOOLS. SEE, SANTANA, 6 F.3D AT 11

("PATTERN OF MISCONDUCT COULD BE SO ENTRENCHED AND PERVASIVE

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THAT IT WOULD JUSTIFY DISMISSAL OF INDICTMENTS WITHOUT A
FINDINGS OF PREJUDICE TO DEFENDANTS"). THIS COURT MUST ORDER
PETITIONER'S RELEASE FROM CONFINEMENT IMMEDIATELY IN ORDER TO

REMEDY THE INJUSTICE WHICH IS READILY APPARENT ON ITS FACE.

LEGAL ARGUMENT
(B) PETITIONER'S CONVICTION MUST BE REVERSED
AND INDICTMENT DISMISSED BASED
ON FALSE STATEMENTS IN WARRANT
AFFIDAVIT.

PETITIONER SUBMITS THAT THE INDICTMENT MUST BE DISMISSED
BASED ON AGENT LUNSFORD SUBMITTING FALSE STATEMENTS TO THE
STATE COURT JUDGE IN ORDER TO OBTAIN A WARRANT TO SEARCH HIS
APARTMENT. IN FRANKS, THE SUPREME COURT DETERMINED THAT A
CRIMINAL DEFENDANT HAS THE RIGHT TO CHALLENGE THE TRUTHFULNESS
OF FACTUAL STATEMENTS MADE IN AN AFFIDAVIT OF PROBABLE CAUSE
SUPPORTING A WARRANT SUBSEQUENT TO THE EX PARTE ISSUANCE OF
THE WARRANT. THERE, THE COURT CREATED A MECHANISM TO ALLOW A
DEFENDANT TO OVERCOME THE GENERAL PRESUMPTION THAT AN
AFFIDAVIT OF PROBABLE CAUSE SUPPORTING A SEARCH WARRANT IS
VALID. FIRST, THE DEFENDANT MUST MAKE A "SUBSTANTIAL
PRELIMINARY SHOWING" THAT THE AFFIDAVIT CONTAINED A FALSE
STATEMENT, WHICH WAS MADE KNOWINGLY OR WITH RECKLESS DISREGARD
FOR THE TRUTH, WHICH IS MATERIAL TO THE FINDING OF PROBABLE
CAUSE. ID AT 171. AT THE HEARING, THE DEFENDANT MUST
ULTIMATELY PROVE BY A PREPONDERANCE OF THE EVIDENCE THAT: (1)
THAT THE AFFIANT KNOWINGLY AND DELIBERATELY, OR WITH A

RECKLESS DISREGARD FOR THE TRUTH, MADE FALSE STATEMENTS OR

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OMISSIONS THAT CREATE A FALSEHOOD IN APPLYING FOR A WARRANT;
(2) THAT SUCH STATEMENTS OR OMISSIONS WERE MATERIAL, OR
NECESSARY, TO THE PROBABLE CAUSE DETERMINATION. IF THE
DEFENDANT IS ABLE TO ULTIMATELY MEETS THIS BURDEN, "THE FOURTH
AMENDMENT REQUIRES THAT ... THE FRUITS OF THE SEARCH [MUST BE]
EXCLUDED TO THE SAME EXTENT AS IF PROBABLE CAUSE WAS LACKING
ON THE FACE OF THE AFFIDAVIT". UNITED STATES V. FROST, 999
F.2D 737 (3D CIR. 1993). THE COURT HOLDINGS RESTS ON THE
PRINCIPLE THAT PROBABLE CAUSE UNDER THE FOURTH AMENDMENT MUST
BE DEMONSTRATED BY A "TRUTHFUL SHOWING", FRANKS, 438 U.S. AT
165,

BUT IT POINTED OUT IMMEDIATELY THAT A "TRUTHFUL SHOWING" MUST
BE UNDERSTOOD IN THE PRACTICAL CONTEXT OF PROCURING SEARCH
WARRANTS: BUT SURELY IT IS TO BE "TRUTHFUL" IN THE SENSE THAT
THE INFORMATION PUT FORTH IS BELIEVED OR APPROPRIATELY
ACCEPTED BY THE AFFIANT AS TRUE .... BECAUSE IT IS THE
MAGISTRATE WHO MUST DETERMINE INDEPENDENTLY WHETHER THERE IS
PROBABLE CAUSE, IT WOULD BE AN UNTHINKABLE IMPOSITION UPON HIS
AUTHORITY IF A WARRANT AFFIDAVIT, REVEALED AFTER THE FACT TO

1 CONTAIN DELIBERATELY OR RECKLESSLY FALSE STATEMENTS, WERE TO
STAND BEYOND IMPEACHMENT.

PETITIONER FISHER FIRST SUBMITS THAT THE AFFIDAVIT
SUPPORTING THE SEARCH WARRANT CONTAINED PERJURED STATEMENTS
WHICH WERE INTENTIONALLY OR RECKLESSLY MADE BY AGENT LUNSFORD
TO MISLEAD THE JUDGE INTO FINDING PROBABLE CAUSE. THE
GOVERNMENT IN ITS ANSWER TO PETITIONER'S §2255 HABEAS CORPUS
HAS CONCEDED THAT AGENT LUNSFORD ADMITTED THAT HE LIED IN THE
STATE WARRANT AFFIDAVIT AS TO THE THE SOURCE OF THE

INFORMATION AND AS TO WHAT CONFIDENTIAL INFORMANT HE RECEIVED

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SUCH INFORMATION ABOUT FISHER FROM. SEE GOVERNMENT'S ANSWER
PAGE 4, TOP PAGE. AGENT LUNSFORD ALSO ADMITTED DURING HIS
PROFFER SESSION ON OCTOBER 23, 2009, AGENT LUNSFORD STATED
THAT THE INFORMANT HE NAMED IN THE WARRANT AFFIDAVIT HAD NO
CONNECTION TO THE CASE. SEE EXHIBIT - "C". WHERE AN AFFIANT,
IN OBTAINING A SEARCH WARRANT, INCLUDED "A FALSE STATEMENT
KNOWINGLY AND INTENTIONALLY, OR WITH RECKLESS DISREGARD FOR
THE TRUTH", AND THE FALSE STATEMENT WAS NECESSARY TO THE
PROBABLE CAUSE FINDING, "THE WARRANT IS VOID AND THE FRUITS OF
THE SEARCH MUST BE SUPPRESSED". UNITED STATES V. GARY, 528
F.3D 324, 327 (4TH. CIR. 2008)(QUOTING FRANKS V. DELAWARE, 438
U.S. 154 (1978).

PETITIONER FISHER SUBMITS THAT AGENT LUNSFORD'S AFFIDAVIT
(SEE EXHIBIT ~ "D"), CONTAINS OUTRIGHT PERJURED STATEMENTS IN
WHICH HE SWORE UNDER OATH WERE TRUE AND LATER ADMITTED WERE
FALSE AND THAT HE INTENTIONALLY WITH DELIBERATE INTENT GAVE
SUCH STATEMENTS TO THE STATE JUDGE KNOWING SUCH TO BE FALSE,
AND WITH THE PURPOSE OF OBTAINING A WARRANT UNLAWFULLY TO
SEARCH FISHER'S APARTMENT. AGENT LUNSFORD WAS SUCCESSFUL IN
DOING SUCH. IN THE AFFIDAVIT WHICH AGENT LUNSFORD TYPED AND
SUBMITTED TO THE STATE COURT JUDGE HE CLEARLY STATES THAT HE
WAS CONTACTED BY A RELIABLE AND CONFIDENTIAL SOURCE OF
INFORMATION (EMPHASIS), THAT IS REGISTERED WITH THE BALTIMORE
CITY POLICE DEPARTMENT UNDER CONTROL #2091, AND THAT SUCH
"CSI" HAD ADVISED HIM THAT HE HAD "IN DEPTH" KNOWLEDGE OF A
LARGE SCALE NARCOTIC DISTRIBUTOR THAT THE INFORMANT KNOWS AS
CORTEZ FISHER. AND THAT CORTEZ FISHER WAS STORING AND SELLING
LARGE AMOUNT OF NARCOTICS AND A HANDGUN IN A SECOND FLOOR

APARTMENT. SEE EXHIBIT - "D", "STATE AFFIDAVIT FOR SEARCH

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WARRANT" FIRST PAGE. THAT INFORMATION WAS FALSE AND AGENT
LUNSFORD KNEW AT THE TIME THAT HE SUBMITTED SUCH WARRANT
AFFIDAVIT THAT HE WAS COMMITTING PERJURY UNDER OATH. THE
ENTIRE AFFIDAVIT IS WRITTEN BASED ON SUPPORTING INFORMATION
GIVEN BY A "GHOST" CONFIDENTIAL INFORMANT BECAUSE AS AGENT
LUNSFORD HAS ADMITTED, THE INFORMANT MENTIONED IN THE
AFFIDAVIT NEVER PROVIDED ANY INFORMATION ON PETITIONER FISHER.
AGENT LUNSFORD GOES FURTHER IN THE AFFIDAVIT ON THE SECOND
PAGE BY STATING THAT BASED ON THE RELIABLE INFORMATION
PROVIDED TO HIM BY THE INFORMANT THAT AGENT LUNSFORD WAS ABLE
TO OBTAIN A PICTURE OF CORTEZ FISHER, IN WHICH SUCH PICTURE
WAS THEN SHOWN TO THE INFORMANT WHO IN TURN VERIFIED THAT THE
PICTURE WAS CORTEZ FISHER, THE INDIVIDUAL THAT THE INFORMANT
KNOWS TO BE A LARGE SCALE NARCOTICS DISTRIBUTOR. SEE EXHIBIT ~
"D", AT PAGE 2.

AGENT LUNSFORD LATER ADMITTED THAT HE LIED WHEN HE STATED SUCH
IN HIS WARRANT AFFIDAVIT TO THE STATE JUDGE. SEE EXHIBIT -
"C".

PETITIONER ASKS THIS COURT TO DISMISS THIS INDICTMENT
BASED ON THE FACT THAT ONCE THE INFORMANT'S ALLEGED SOURCE OF
INFORMATION IS REMOVED FROM THE AFFIDAVIT THE VERACITY OF THE
RELIABILITY OF THE INFORMATION LEFT OVER DOES NOT SUPPORT THAT
PROBABLE CAUSE EXISTED. IT IS WITHOUT QUESTION THAT THIS COURT
CAN NO LONGER ACCEPT THE TESTIMONY OF AGENT LUNSFORD NOW OR
LOOKING IN HINDSIGHT THEN, BECAUSE AGENT LUNSFORD HAS ADMITTED
THAT HE COMMITTED PERJURY, THERE IS NO BASIS TO BELIEVE ANY
TESTIMONY THAT HE MAY LATER PRESENT. AS A MATTER OF FACT,
AGENT LUNSFORD AND THE GOVERNMENT ATTRIBUTE THE INFORMATION HE

GAVE IN THE WARRANT AFFIDAVIT TO A SECOND CONFIDENTIAL SOURCE

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OF AGENT LUNSFORD, BUT NEITHER THE UNITED STATES ATTORNEY OR
AGENT LUNSFORD HAVE IDENTIFIED THAT CONFIDENTIAL SOURCE AND
INDICATED THEIR RELIABILITY OR PROOF THAT SUCH SOURCE COULD
HAVE HAD PERSONAL KNOWLEDGE PERTAINING TO THE EVENTS AS
INDICATED IN THE DEFECTIVE AFFIDAVIT GIVEN BY AGENT LUNSFORD.
THIS COURT IS NO MORE THE WISER THAN IT WAS WHEN AGENT
LUNSFORD GAVE A PROFFER STATING THAT IT WAS A SECOND
INFORMANT, NOT THE FIRST INFORMANT THAT HE STATED ON THE
WARRANT AFFIDAVIT. THERE IS SIMPLY NO WAY THAT WE CAN BE
CERTAIN THAT AGENT LUNSFORD IS NOT GIVING FALSE TESTIMONY
AGAIN IN ORDER TO OBTAIN THE PLEA AGREEMENT HE ENTERED INTO
WITH THE GOVERNMENT TO REVEAL HIS MISDEEDS. PETITIONER SUBMITS
THAT IF THE WARRANT AFFIDAVIT WAS DEFECTIVE AND CONDUCTED
ILLEGALLY, THE FACTS DERIVED FROM IT WOULD HAVE TO BE STRICKEN
FROM THE AFFIDAVIT. SEE UNITED STATES V. KARO, 82 L. ED 2D 530
(1984)(INFORMATION OBTAINED IN VIOLATION OF THE_FOURTH
AMENDMENT WOULD INVALIDATE SEARCH WARRANT IF IT PROVED
CRITICAL TO ESTABLISHING PROBABLE CAUSE); UNITED STATES V.
GILLENWATERS, 890 F.ZD 679 (4TH. CIR. 1989)(INFORMATION
ILLEGALLY OBTAINED MUST BE EXCISED FROM WARRANT AFFIDAVIT).
WITHOUT THE FACTS DRAWN FROM THE "GHOST" CONFIDENTIAL SOURCE,
THE REMAINING CONTENTS OF THE AFFIDAVIT AND INVESTIGATION
WOULD HAVE NOT SUPPORTED A FINDING OF PROBABLE CAUSE BECAUSE
SUCH PROVIDED NO DETAILS ABOUT THE APARTMENT THAT FISHER LIVED
IN OR THE ACTIVITIES IN OR AROUND SUCH APARTMENT, NOR THE
SOURCE OR CONTEXT OF THIS INFORMATION, AND STANDING ALONE, THE
SURVIVING INFORMATION SURELY WAS NOT SUFFICIENT FOR A JUDGE TO
EXERCISE HIS INDEPENDENT JUDGMENT ON ISSUING A SEARCH WARRANT.

SEE ILLINOIS V. GATES, 76 L. ED 2D 527 (1983); UNITED STATES

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V. WILHELM, 80 F.3D 116, 119 (4TH. CIR. 1996). IF A FRANKS
HEARING WOULD HAVE BEEN APPROPRIATE HAD PETITIONER KNEW ABOUT
AGENT LUNSFORD FALSE STATEMENTS IN HIS WARRANT AFFIDAVIT, AN
THE AFFIANT'S MATERIAL PERJURY OR RECKLESSNESS IS ESTABLISHED
BY A PREPONDERANCE OF THE EVIDENCE, THE WARRANT WOULD HAVE
BEEN "VOIDED" AND ALL EVIDENCE OR TESTIMONY GATHERED PURSUANT
TO IT WOULD HAVE BEEN EXCLUDED. ID AT 156. A WARRANT THAT
VIOLATES FRANKS IS NOT SUBJECT TO THE GOOD-FAITH EXCEPTION TO
THE EXCLUSIONARY RULE ANNOUNCED IN UNITED STATES V. LEON, 82
L. ED 2D 677 (1984). WHERE THE FALSE STATEMENTS WERE
INTENTIONAL, THERE HAS BEEN A MISCARRIAGE OF JUSTICE, BECAUSE
THE OUTCOME OF THE JUDGE'S PROBABLE CAUSE DETERMINATION HAS
BEEN AFFECTED UNKNOWINGLY THROUGH THE RECKLESS DISREGARD FOR
THE TRUTH SUBMITTED UNDER OATH IN THE AFFIDAVIT. AGENT
LUNSFORD INTENDED THE FALSE STATEMENT TO MISLEAD THE JUDGE SO
THAT A WARRANT WOULD ISSUE TO SEARCH UNLAWFULLY PETITIONER'S
APARTMENT.

PETITIONER ASKS THAT THIS COURT TAKE JUDICIAL NOTICE OF THE
FACT THAT THE GOVERNMENT AND AGENT LUNSFORD HAVE UNLAWFULLY
OBTAINED HIS CONVICTION AND THE INTEREST OF JUSTICE AND
FUNDAMENTAL FAIRNESS DICTATE THAT THE COURT EXERCISE ITS

SUPERVISORY POWERS TO DISMISS THIS INDICTMENT.

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LEGAL ARGUMENT
aj PETITIONER cAN ASSERT BRADY cLAIM
AFTER GUILTY PLEA BASED 0N
PLEA NOT BE1NG voLUNTAR1LY
AND 1NTELL1GENTLY ENTERED 1N
v1oLA110N 0F DUE PROCESS.

A DEFENDANT wH0 PLEADS GU1LTY GENERALLY cANNoT LATER
RA1SE INDEPENDENT cLA1Ms 0F coNsT1TUT10NAL v10LA110NS. sEE -
TOLLETT v. HENDERSON, 36 L. 00 20 235 (1973). THREE c1RcU1TS
HAVE RULED THAT THERE 18 AN EXCEPTION, AND HAVE HELD THAT A
DEFENDANT cAN ARGUE THAT HIS GUILTY PLEA wAs NOT voLUNTARY AND
INTELLIGENT BECAUSE 11 wAs MADE 1N THE ABSENCE OF w1THHEL0
BRADY MATER1AL. sEE - wHITE v. UN1TED sTATES, 858 F.20 416,
422 (8TH. c1R. 1988), cERT. DENIED, 103 L. 80 20 221 <1989);
MILLER v. ANGLIKER, 848 F.20 1312, 1319-20 (20 CIR..), cERT.
DENIED, 102 L.ED 20 214 (1988); cAMPBELL v. MARSHALL, 769 F.20
314, 321 (6TH. cIR. 1985), cERT. DEN1ED, 475 U.S. 1048
(1986).

TH1S EXCEP110N 10 THE GENERAL BAR 0N 00N81110110NAL
cLA1M8 18 sENsIBLE, BECAUSE "A DEFENDANT's DEC1810N wHETHER OR
NOT 10 PLEAD GUILTY 18 OFTEN HEAv1LY 1NFLUENCED BY HIS
APPRAISAL 0F THE PROSECUTION'$ cAsE". M1LLER, 848 F.20 AT
1320. A wA1vER cANNOT BE DEEMED "1NTELL1GENT AND voLUNTARY" 18
ENTERED wITHOUT KNOWLEDGE OF MATERIAL 1NFORMAT10N w1THHEL0 BY
THE PROSECUTION". 10. MOREOVER, 1F A DEFENDANT MAY NOT RAISE A
BRADY cLA1M AFTER A GU1L1Y PLEA, PROSECUTORS MAY BE TEMPTED 10
DELIBERATELY w1THH0L0 EXCULPATORY 1NF0RMATION AS PART 0F AN

ATTEMPT TO ELICIT GUILTY PLEAS. THEREFORE, DEFENDANT MUST BE

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ALLOWED TO ASSERT A BRADY CLAIM WHEN CHALLENGING THE
VOLUNTARINESS OF A GUILTY PLEA. SECOND, THE BRADY VIOLATION
ISSUE MUST BE ADDRESSED BECAUSE THE INFORMATION ABOUT AGENT
LUNSFORD WOULD HAVE BEEN "MATERIAL" TO FISHER'S DECISION TO
PLEAD GUILTY. FAILURE TO DISCLOSE INFORMATION CONSTITUTES A
BRADY VIOLATION IF THE INFORMATION IS "MATERIAL" TO THE
DEFENSE. UNITED STATES V. SHAFFER, 789 F.2D 682 (9TH CIR.
1986).

ALTHOUGH THE USUAL STANDARD OF MATERIALITY IS WHETHER THE
FAILURE TO DISCLOSE THE EVIDENCE "UNDERMINES" CONFIDENCE IN
THE OUTCOME OF THE TRIAL", UNITED STATES V. BAGLEY, 87 L.ED
2D 481 (1985); THE ISSUE IN A CASE INVOLVING A GUILTY PLEA IS
WHETHER THERE IS A REASONABLE PROBABILITY THAT BUT FOR THE
FAILURE TO DISCLOSE THE BRADY MATERIAL, THE DEFENDANT WOULD
HAVE REFUSED TO PLEAD AND WOULD HAVE GONE TO TRIAL. MILLER,
848 F.2D AT 1322; CF. WHITE, 858 F.2D AT 424 (APPLYING THE
STANDARD OF WHETHER UNDISCLOSED MATERIAL "WOULD HAVE BEEN
CONTROLLING IN THE DECISION WHETHER TO PLEAD") (QUOTING
CAMPBELL, 769 F.ZD AT 324). SEE - NAPUE V. ILLINOIS, 3 L.ED 2D
(1959)("EVIDENCE IS "MATERIAL" IF THERE IS A REASONABLE
PROBABILITY THAT IT WILL AFFECT THE RESULT OF THE
PROCEEDING).

IN THIS CASE, AGENT LUNSFORD SUBMITTED A FALSE AFFIDAVIT
TO THE COURT TO OBTAIN A WARRANT TO SEARCH DEFENDANT'S
RESIDENT. DEFENDANT FISHER SUBMITS THAT HAD HE KNOWN ABOUT
THIS PRIOR TO HIS ENTRY OF HIS GUILTY PLEA THAT HE WOULD HAVE
GONE TO TRIAL BASED ON THE FACT THAT HE WAS INNOCENT OF THE
CHARGED OFFENSE.

PETITIONER SUBMITS THAT HE DID NOT COME INTO POSSESSION

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OF THIS INFORMATION UNTIL JUNE 17, 2010, WHEN THE GOVERNMENT
IN ITS RESPONSE TO HIS §2255 HABEAS CORPUS PETITION SUBMITTED
DOCUMENTATION THAT AGENT LUNSFORD HAD ADMITTED TO THE
GOVERNMENT IN OCTOBER OF 2009, THAT HE DELIBERATELY FALSIFIED
THE WARRANT AFFIDAVIT IN RECKLESS DISREGARD FOR THE TRUTH FOR
THE PURPOSE OF OBTAINING A WARRANT TO SEARCH PETITIONER'S
RESIDENCE. SEE - EXHIBIT - "C". UNDISCLOSED EVIDENCE IS
MATERIAL WHEN ITS CUMULATIVE EFFECT IS SUCH THAT" THERE IS A
REASONABLE PROBABILITY THAT, HAD THE EVIDENCE BEEN DISCLOSED
TO THE DEFENSE, THE RESULT OF THE PROCEEDING WOULD HAVE BEEN
DIFFERENT". KYLES V. WHITLEY, 131 L. ED 2D 490 (1995).
"EVIDENCE SHOULD BE DISCLOSED BEFORE IT IS TOO LATE FOR THE
DEFENDANT TO MAKE EFFECTIVE USE OF IT, AND THEREBY CAUSE A DUE
PROCESS VIOLATION". UNITED STATES V. RUSSELL, 971 F. 2D 1098,
1112 (4TH. CIR. 1992). HERE THE GOVERNMENT WITHHELD FROM
PETITIONER THE FACT THAT AGENT LUNSFORD HAD GAVE A STATEMENT
IN HIS §302 PROFFER WHICH DISCUSSED THAT HE GAVE A FALSE
AFFIDAVIT CONTAINING FALSE STATEMENTS TO A JUDGE IN ORDER TO
OBTAIN PERMISSION TO SEARCH PETITIONER'S HOUSE. HAD PETITIONER
NOT FILED A §2255 HABEAS CORPUS THIS EVIDENCE WOULD HAVE STILL
BEEN CONCEALED BY THE GOVERNMENT. BY THE TIME THIS EVIDENCE
WAS REVEALED TO PETITIONER MORE THAN NINE MONTHS HAD WENT BY
SINCE THE GOVERNMENT HAD OBTAINED SUCH WRITTEN STATEMENT FROM
AGENT LUNSFORD, AND HAD PETITIONER NOT FILED A §2255
HABEAS CORPUS THE GOVERNMENT HAD NO INTENTION OF TURNING SUCH
INFORMATION OVER TO THE PETITIONER. THE GOVERNMENT'S FAILURE
TO DISCLOSE "EVIDENCE" FAVORABLE TO AN ACCUSED VIOLATES DUE
PROCESS WHERE THE EVIDENCE IS MATERIAL EITHER TO GUILT OR TO

PUNISHMENT, IRRESPECTIVE OF THE GOOD FAITH OR BAD FAITH OF THE

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OF THE PROSECUTION". KYLES V. WHITLEY, 131 L.ED 2D 490 (1995);
HOKE V. NETHERLAND, 92 F.3D 1350, 1356 (4TH. CIR. 1996).
EVIDENCE THAT CAN BE USED TO IMPEACH A WITNESS IS
UNQUESTIONABLY SUBJECT TO DISCLOSURE UNDER BRADY. SEE -
STRICKLER, 119 S.CT. AT 1948 (EXPLAINING THAT "THE DUTY
[IMPOSED BY BRADY] ENCOMPASSES IMPEACHMENT EVIDENCE); BAGLEY,
473 U.S. AT 676 (HOLDING THAT IMPEACHMENT EVIDENCE "FALLS
WITHIN THE BRADY RULE"). THE GOVERNMENT'S CONCLUSION IS
CONTRARY TO CLEARLY ESTABLISHED FEDERAL LAW TO THE EXTENT

THAT IT FAILS TO RECOGNIZE UNEQUIVOCALLY THAT IMPEACHMENT
EVIDENCE FALLS WITHIN THE PARAMETERS OF BRADY AND THEREFORE,
MUST BE DISCLOSED IF MATERIAL. FOR PURPOSES OF DETERMINING
WHETHER EVIDENCE IS FAVORABLE TO THE DEFENDANT, IT IS THE
CONTENT OF THE STATEMENT, NOT THE MODE OF COMMUNICATION TO THE
GOVERNMENT THAT IS IMPOHTRNT. THE PROSECUTOR IS RESPONSIBLE
FOR "ANY FAVORABLE EVIDENCE KNOWN TO THE OTHERS ACTING ON THE
GOVERNMENT'S BEHALF IN THE CASE, INCLUDING THE POLICE". KYLES
V. WHITLEY, 131 L. ED 2D 490 (1995). THUS, THE UNITED STATES
GOVERNMENT, THROUGH AGENT LUNSFORD, IS CHARGED WITH KNOWLEDGE
OF THE WITHHELD EVIDENCE FOR PURPOSES OF BRADY, 10 L.ED 2D 215
(1963). THE UNITED STATES SUPREME COURT HAS ESTABLISHED THAT
THE BRADY DISCLOSURE OBLIGATION DOES NOT END WITH THE
PROSECUTOR'S OWN PERSONAL KNOWLEDGE, SEE KYLES V. WHITLEY,
SUPRA.. RELYING ON EARLIER SUPREME COURT PRECEDENTS WHICH HELD
THAT DUE PROCESS IS NOT SATISFIED IF A DEFENDANT'S CONVICTION
IS SECURED AND LIBERTY IS DEPRIVED "THROUGH A DELIBERATE
DECEPTION OF THE COURT AND JURY", THE SUPREME COURT IN BRADY
EXTENDED THOSE PRINCIPLES TO HOLD THAT DUE PROCESS IS LIKEWISE

VIOLATED WHEN A PROSECUTOR -- WHETHER IN GOOD FAITH OR BAD

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FAITH -- WITHHOLDS MATERIAL EVIDENCE FAVORABLE TO THE ACCUSED.
THE GOVERNMENT NOW SUBMITS THAT IT DID NOT KNOW OF THE
CRIMINAL ACTIVITIES BY AGENT LUNSFORD UNTIL SOMETIME IN 2009,
ASSUMING ARGUENDO THAT SUCH IS TRUE, THE GOVERNMENT STILL DID
NOT TURN OVER SUCH EVIDENCE TO PETITIONER FISHER ONCE IT CAME
INTO POSSESSION OF INFORMATION THAT POLICE MISCONDUCT HAD
INFECTED HIS CRIMINAL PROCESS. THE FEDERAL INVESTIGATION OF
AGENT LUNSFORD BEGAN PRIOR TO PETITIONER'S GUILTY PLEA AND
SENTENCE AND CONTINUED APPROXIMATELY TEN TO FOURTEEN MONTHS
AFTER PETITIONER FISHER WAS SENTENCED. THAT NEITHER THE UNITED
STATES ATTORNEY HIMSELF NOR ANYONE IN HIS OFFICE KNEW OF AGENT
LUNSFORD'S ILLEGAL ACTIVITY DOES NOT END THE INQUIRY. BRADY
APPLIES TO EXCULPATORY AND IMPEACHMENT INFORMATION THAT IS IN
THE POSSESSION OF THE "PROSECUTION TEAM," WHICH INCLUDES
INVESTIGATORS AND THE POLICE. THUS, AGENT LUNSFORD AS THE LEAD
TFO OFFICER IN FISHER'S CASE AND THE KEY OFFICER IN CHARGE OF
THE CASE, WAS INDISPUTABLY A MEMBER OF THE PROSECUTION TEAM
AND HIS KNOWLEDGE OF HIS OWN CRIMINAL CONDUCT IS THEREFORE
PROPERLY IMPUTED TO THE PROSECUTION TEAM. THE QUESTION IS
WHEN BRADY REQUIRES THE PROSECUTION TO "OBTAIN AND TURN OVER
FAVORABLE EVIDENCE KNOWN TO A POLICE OFFICER WHO
INVESTIGATED THE CASE, IS IT REALLY EXPECTED THAT SUCH A RULE
WOULD APPLY TO THE CRIMINAL WRONGDOING OF THE POLICE OFFICER
HIMSELF? INDEED, SEVERAL COURTS WHICH HAVE EXAMINED THIS ISSUE
HAVE ULTIMATELY DETERMINED THAT EVIDENCE OF AN OFFICER'S
CRIMINAL ACTIVITY, KNOWN EXCLUSIVELY TO THE OFFICER HIMSELF
MUST BE IMPUTED TO THE GOVERNMENT. ESPECIALLY, HERE WHERE
AGENT LUNSFORD WAS A KEY MEMBER OF THE PROSECUTION TEAM WHOSE

INFORMATION AND TESTIMONY WAS VITAL TO SECURE A CONVICTION

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AGAINST FISHER. BASED ON SUCH FACTS, AGENT LUNSFORD'S
KNOWLEDGE OF EXCULPATORY OR IMPEACHMENT EVIDENCE IS PROPERLY
IMPUTED TO THE PROSECUTION BECAUSE "WHEN AN INVESTIGATING
POLICE OFFICER WILLFULLY AND INTENTIONALLY CONCEALS MATERIAL
INFORMATION, REGARDLESS OF ... THE OTHERWISE PROPER CONDUCT
OF THE UNITED STATES ATTORNEY, THE POLICEMAN'S CONDUCT MUST BE
IMPUTED TO THE STATE AS PART OF THE PROSECUTION TEAM". SEE -
FREEMAN V. GEORGIA, 599 F.2D 65, 69 (5TH CIR. 1979). THIS IS
SO BECAUSE "[T]HE POLICE ARE PART OF THE PROSECUTION, AND THE
TAINT {THEREFORE} IS NO LESS IF THEY, RATHER THAN THE UNITED
STATES ATTORNEY, WERE GUILTY OF THE NONDISCLOSURE". IN OTHER
WORDS, THE DUTY TO DISCLOSE IS THAT OF THE GOVERNMENT, WHICH
ORDINARILY ACTS THROUGH THE UNITED STATES ATTORNEY; BUT IF HE
TOO IS THE VICTIM OF POLICE SUPPRESSION OF MATERIAL
INFORMATION, THE GOVERNMENT'S FAILURE IS NOT ON THAT ACCOUNT
EXCUSED. ON THESE SPECIFIC FACTS, AGENT LUNSFORD'S KNOWLEDGE
OF HIS OWN CRIMINAL CONDUCT, CONSTITUTING EVIDENCE THAT WOULD
HAVE BEEN FAVORABLE TO THE DEFENSE, DEMONSTRATES THAT THE
PROSECUTION BOTH "POSSESSED" FAVORABLE EVIDENCE, IN
SATISFACTION OF BRADY'S FIRST PRONG, AND "SUPPRESSED"
EXCULPATORY OR IMPEACHMENT EVIDENCE, IN SATISFACTION OF
BRADY'S THIRD PRONG. PETITIONER FISHER, WITH RESPECT TO
BRADY'S FOURTH PRONG, HAS DEMONSTRATED THAT THE SUPPRESSED
EVIDENCE WAS MATERIAL SO AS TO ESTABLISH PREJUDICE. SEE
NEWTON, 44 F.3D AT 918. IMPEACHMENT EVIDENCE IS MATERIAL FOR
THE PURPOSE OF BRADY "IF THERE IS A REASONABLE PROBABILITY
THAT, HAD THE EVIDENCE BEEN DISCLOSED TO THE DEFENSE, THE
RESULT OF THE PROCEEDING WOULD HAVE BEEN DIFFERENT". BAGLEY,

473 U.S. 667 (1985). THUS, FISHER HAS SHOWN AND DEMONSTRATED A

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BRADY VIOLATION BY SHOWING_THAT THE FAVORABLE EVIDENCE COULD
REASONABLY BE TAKEN TO PUT THE WHOLE CASE IN SUCH A DIFFERENT
LIGHT AS TO UNDERMINE CONFIDENCE IN THE VERDICT. KYLES, 514
U.S. AT 434, 435. THIS DISTRICT COURT MUST FIND THAT A BRADY
VIOLATION IS PRESENTABLE IN THIS MATTER BECAUSE THE GOVERNMENT
THROUGH AN AGENT ON ITS "PROSECUTION TEAM" VIOLATED FISHER'S
DUE PROCESS RIGHTS BY WITHHOLDING EVIDENCE WHICH WAS MATERIAL
TO FISHER'S DECISION TO ENTER A GUILTY PLEA. THE UNITED STATES
ATTORNEY HAS GREAT POWER AND AUTHORITY OVER AN INDICTMENT.
WITH THAT GREAT POWER AND AUTHORITY COMES A CORRELATIVE DUTY,
AND THAT IS NOT TO PERMIT A INNOCENT PERSON TO STAND CONVICTED
WHEN HE KNGWS THAT SUCH CONVICTION RESTS UPON PERJURED
TESTIMONY AND SERIOUS MISCONDUCT BY LAW ENFORCEMENT OFFICIALS
THAT HAS CREATED A MISCARRIAGE OF JUSTICE IN THE LEGAL
PROCEEDINGS. THE UNITED STATES ATTORNEY HAS A DUTY TO NOTIFY
THE COURT AND TO CORRECT THE INJUSTICE THAT HAS BECOME
APPARENT TO HIM. THE DUE PROCESS CLAUSE OF THE FIFTH AMENDMENT
IS VIOLATED WHEN A DEFENDANT IS FORCED TO STAND CONVICTED ON
CHARGES WHICH THE GOVERNMENT KNOWS IS PARTIALLY OR FULLY BASED
ON PERJURED TESTIMONY, AND THAT PERJURED TESTIMONY IS
MATERIAL. IN THIS MATTER, PETITIONER FISHER HAS MADE A
PLAUSIBLE SHOWING THAT THE EVIDENCE WOULD BE BOTH MATERIAL AND
FAVORABLE, AND THEREFORE THIS DISTRICT COURT MUST HOLD AN
EVIDENTIARY HEARING TO DETERMINE WHETHER THE WITHHELD EVIDENCE
COULD HAVE PUT THE CASE IN SUCH A DIFFERENT LIGHT AS TO
UNDERMINE CONFIDENCE IN THE OUTCOME.
CONCLUSION
IN RESOLVING THE OBVIOUS, THIS COURT MUST TAKE JUDICIAL

NOTICE OF THE FACT THAT SUPERVISORY POWERS MAY BE INVOKED IN A

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MYRIAD OF SITUATIONS BASED ON THE PECULIAR CIRCUMSTANCES
PRESENTED. IT SHOULD BE EXERCISED SPARINGLY AND ONLY ON A
SHOWING OF DEMONSTRATED PROSECUTORIAL MISCONDUCT. SPARING USE,
OF COURSE, DOES NOT MEAN NO USE.`EVEN "DISFAVORED REMEDIES",
UNITED STATES V. ROGERS, 751 F.2D AT 1076-77, MUST BE USED IN
CERTAIN SITUATIONS. EXERCISING THE INHERENT AUTHORITY IS MOST
APPROPRIATE IN PARTICULAR FACT SITUATIONS THAT DO NOT LEND
THEMSELVES TO RULES OF GENERAL APPLICATION. UNITED STATES V.
HARRISON, 716 F.2D 1050, 1053 N.l (4TH. CIR. 1983); WISSLER V.
UNITED STATES, 80 L.ED 2D 819 (1984). A COMMON THREAD
UNDERLYING MANY DECISIONS IS THAT THE MAGNITUDE OF THE
MISCONDUCT AFFECTS THE USE OF THE SUPERVISORY POWER, WHETHER
OR NOT ACTUAL PREJUDICE IS SHOWN. SEE UNITED STATES V. SERUBO,
604 F.2D AT 818 (PROSECUTORIAL CONDUCT EXTREME; GRAPHIC AND
MISLEADING); UNITED STATES V. HOGAN, 712 F.2D 757 (2D CIR.
1983)(MISCONDUCT FLAGRANT). IN DETERMINING THE PROPER REMEDY
PURSUANT TO THE SUPERVISORY POWERS, THE RELIEF CHOSEN SHOULD
BE DIRECTLY RELATED TO THE SERIOUSNESS OF THE MISCONDUCT.
UNITED STATE V. BANKS, 383 F. SUPP. AT 392. REPEATED INSTANCES
OF DELIBERATE AND FLAGRANT MISCONDUCT JUSTIFY DISMISSAL OF THE
INDICTMENT. SEE - UNITED STATES V. HOGAN, 712 F.2D AT 761.
PETITIONER SUBMITS THAT IN A CASE SUCH AS THIS WHERE THE
GOVERNMENT COMMITTED REPEATED MISCONDUCT AT THE ARREST STAGE
(BURGLARY,THEFT,PLANTING EVIDENCE,PROVIDING FALSE EVIDENCE AND
STATEMENTS TG STATE JUDGE TO OBTAIN WARRANT), AT THE PRE-
INDICTMENT STAGE (LYING TO A FEDERAL GRAND JURY), AT THE
DISCOVERY STAGE (WITHHOLDING EVIDENCE), AND AFTER THE
SENTENCING (SUPPRESSING AGENT LUNSFORD'S PROFFER STATEMENT),

THAT SUCH SUPERVISORY POWERS MUST BE EXERCISED NOT TO GNLY

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VINDICATE FISHER'S RIGHTS, BUT TO PRESERVE THE INTEGRITY OF
THE JUDICIAL SYSTEM. UNITED STATES V. LESLIE, 759 F.2D AT 372.
THE COURT HAS PARTICULARLY STRESSED THE NEED TO USE THE
SUPERVISORY POWER TO PREVENT THE FEDERAL COURTS FROM BECOMING
ACCOMPLICES TO SUCH MISCONDUCT. SEE - UNITED STATES V. PAYNER,
447 U.S. AT 744. UTILIZATION OF THE SUPERVISORY POWERS REMAINS
A HARSH ULTIMATE SANCTION, BUT MUST BE USED FOR "CONDUCT THAT
SHOCKS THE CONSCIENCE". SEE - ROCHIN V. CALIFORNIA, 96 L.ED
183 (1952). THE MISCONDUCT HERE IS AS EXTREME AS ANY FOUND IN
THE REPORTED DECISIONS REVIEWED BY THIS COURT. PETITIONER AND
THE COURT CLEARLY SUFFERED PREJUDICE FROM THE MISCONDUCT. IN
LIGHT OF ALL THE EVIDENCE PRESENTED HERE AND THAT MAY BE
PRESENTED AT A FUTURE EVIDENTIARY HEARING BEFORE THIS COURT,
IT IS CLEAR THAT THIS CASE RISES TO THE HIGH THRESHOLD IMPOSED
FOR INVOCATION OF THE SUPERVISORY POWER. THIS COURT MUST
CONDEMN THE MANNER IN WHICH THE GOVERNMENT OBTAINED THIS
CONVICTION, AND CANNOT NOW STAND IDLY

BY, IMPLICITLY JOINING THE FEDERAL GOVERNMENT (U.S. ATTORNEY'S
OFFICE) INTO SUCH UNBECOMING CONDUCT, IT IS SIMPLY WRONG FOR
THE GOVERNMENT TO ACT AS THEY HAVE DONE HERE. THIS TYPE OF
CONDUCT CANNOT AND MUST NOT BE CONDONED; IN FACT. IT MUST BE
STRONGLY CONDEMNED. THE GOVERNMENT HAS CONCEDED THAT AGENT
LUNSFORD HAS COMMITTED PERJURY TO A STATE COURT JUDGE; AND
THAT AGENT LUNSFORD HAS LIED TO A FEDERAL GRAND JURY; AND THAT
IN ACTUALITY NO INFORMANT EXISTED WHO GAVE INFORMATION THAT
MAY BE TESTED FOR ITS VERACITY OR RELIABILITY. IN FACT, THE
GOVERNMENT STATES THAT AGENT LUNSFORD ADMITTED THAT HE
RECEIVED THE INFORMATION FROM A SECOND INFORMANT. THAT

INFORMANT HAS YET TO BE IDENTIFIED AS EXISTING OR BEING

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RELIABLE. IT COULD BE THAT THE SECOND INFORMANT THAT AGENT
LUNSFORD AND THE GOVERNMENT ALLUDES TO MAY BE THE SAME
INFORMANT THAT GAVE THE GOVERNMENT INFORMATION ABOUT AGENT
LUNSFORD'S CRIMINAL ACTIVITY. IF THIS IS SO, THE GOVERNMENT
HAS CLEARLY STATED ON COURT DOCUMENTS THAT SUCH INFORMANT WAS
"UNRELIABLE" BASED ON HIS "INABILITY TO FOLLOW INSTRUCTIONS
AND CANDOR ISSUES". THE F.B.I. DROPPED HIM AS AN INFORMANT.
CLEARLY, IF THIS IS THE SECOND INFORMANT THAT AGENT LUNSFORD
IS REFERRING TO HIS TESTIMONY AND INFORMATION WOULD BE SUSPECT
FOR PURPOSES OF ESTABLISHING PROBABLE CAUSE OR FOR DEFEATING
THIS MOTION.

THE GOVERNMENT ATTEMPTS TO SWEEP THIS WHOLE CASE UNDER
THE RUG BY ARGUING PROCEDURAL DEFAULTS AND CONSTITUTIONAL
IMPEDIMENTS. THE GOVERNMENT'S ARGUMENT OVERLOOKS ONE CRITICAL
CONSEQUENCE THAT WOULD HAVE RESULTED IF THE PETITIONER HAD
BEEN AWARE OF THE MISREPRESENTATIONS. THERE WOULD HAVE BEEN NO
FEDERAL INDICTMENT BECAUSE THE STATE JUDGE HAVING BECOME AWARE
OF FALSE TESTIMONY TO OBTAIN SUCH WARRANT WOULD HAVE
SUPPRESSED ALL THE EVIDENCE SEIZED DURING THE SEARCH OF
PETITIONER'S FISHER'S APARTMENT. THIS WOULD HAVE BEEN DONE
REGARDLESS OF THE GOOD FAITH OF THE UNITED STATES ATTORNEY'S
OFFICE. THE ACTS COMMITTED HERE ARE INTOLERABLE. THIS COURT
SHOULD NOT BE FORCED TO UPHOLD A CONVICTION WHERE GOVERNMENT
WITNESSES AND AGENTS HAVE ADMITTED THAT THEY TESTIFIED
UNTRUTHFULLY. THE GOVERNMENT'S CONDUCT ITSELF AND THROUGH
AGENT LUNSFORD WAS PATENTLY EGREGIOUS AND CANNOT BE CONDONED
NOR TOLERATED. ITS MANNER OF SEEKING A CONVICTION OF FISHER
SHOCKS THE COURT'S CONSCIENCE. THE INDICTMENT MUST BE

DISMISSED AS A PROPHYLACTIC SANCTION FOR THE CONSISTENT COURSE

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08 8818880880 880 FLAGRANT 8180080001. 081180 818188 v.
BIRDMAN, 602 8.20 547 (30 CIR. 1979), CERT. 088180, 62 L.80 20
668 (1980).

8811110888 818888 8081888 00818808 18A1 881L8 188
GGVERNMENT 808M118 18A1 8811110888'8 801L1Y PLEA 8800L0 88
0888L0, 11 8A8 08 88v88AL 000881088 ALLOWED PLEAS 08 801L1Y 10
88 0v88108880, 88v88880, 08 80018180 A8 A 8880L1 08 188
MISCONDUCT COMMITTED BY AGENT LUNSFORD. 8811110888 1818808
1880088 01800v88Y AND PRESENTATIQN A1 A 801088 8v108811ARY
88ARING 10 880w 18A1 188 80VERNM8NT 18 18881188 818 coNvIcTION
018888881 1888 01888 801L1Y PL8A8 88108 8888 OBTAINED A8 A
8880L1 08 8180080001 BY AGENT L0888080. 1818 18 88188 DONE
8118001 ANY J0811810A1108 AND AMQUNTS 10 A v10LA1108 08 EQUAL
818818 AND 0888188 A 08V1008 0188A811Y 18 808 18888 MA11888
888 88188 HANDLED. 8811110888 818888 ALSO 00818808 18A1 18888
CANNOT 88 A wAIVER BASED ON A 810881 RECORD. 8888 188
GOVERNMENT NEVER 18808880 8811110888 A8001 188 UNLAWFUL
0080001 08 AGENT LUNSFORD AND 188888088, 8811110888 000L0 801
KNOWINGLY AND INTELLIGENTLY WAIVE 818 81881 10 ARGUE
88088001081AL M180080001. 18 1818 MA1188, 188 88088001108'8
088111188 088 08 PERJURY 18 8080801 10 188 SAME 88v188 A8
KNOWING 088 08 PERJURED TESTIMONY, AND 18 8800 10 188 SAME
81ANDA80 88108 88001888 A 8811110888 10 880v8 BY A
PREPONDERANCE 08 188 8v108808 1881 188 FAL88 18811808Y
00818180180 10 818 coNvIcTIoN 08 8081888881.

888 - EX PARTE CHABOT, 18X. cRIM. APP. NO. AP-75,940 12/9/09.
8811110888 188888088, 8088118 1881 EVEN ASSUMING ARGUENDO 18A1
1818 MATTER INVOLVES UNKNOWING, 8A1888 18AN KNOWING, 088 08

TESTIMONY, THERE IS STILL NO REASON FOR SUBJECTING THE TWO

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TYPES OF ERRORS TO DIFFERENT STANDARDS OF HARM. WHERE A
PROSECUTOR CONCEDES THE MATERIALITY OF THE PERJURED WITNESSE'S
TESTIMONY, THE TEST BECOMES A DUE PROCESS ISSUE WHICH THE
PETITIONER NEEDS TO SHOW ONLY THAT (1) THAT THE EXISTENCE OF
THE PERJURED TESTIMONY CAME TO HIS KNOWLEDGE AFTER
SENTENCING,(2) THAT IT COULD NOT HAVE BEEN DISCOVERED SOONER
WITH DUE DILIGENCE, (3) THAT THE TESTIMONY WAS MATERIAL, AND
THAT (4) THE DEFENDANT WOULD HAVE PROBABLY HAVE NOT ENTERED A
GUILTY PLEA HAD THE INFORMATION BEEN GIVEN TO HIM DURING
DISCOVERY.

PETITIONER FISHER SUBMITS THAT COURT SHOULD CONDUCT AN
REVIEW THE INFORMATION
"IN CAMERA" TO ASCERTAIN ITS TRUE NATURE AND DETERMINE
WHETHER THE SECOND CONFIDENTIAL SOURCE MENTIONED EXISTED AND
GAVE SUCH INFORMATION TO AGENT LUNSFORD REGARDING FISHER,
NOTWITHSTANDING THE FACT THAT SUCH WOULD STILL BE INADMISSIBLE
BASED UPON THE FACT THAT A "DETACHED AND NEUTRAL MAGISTRATE"
WAS NEVER GIVEN THE OPPORTUNITY TO ASSESS THE SECOND
INFORMANT'S VERACITY AND RELIABLE FOR PROVIDING ACCURATE
INFORMATION FOR PROVING PROBABLE CAUSE TO ISSUE SUCH WARRANT
TO SEARCH.

PETITIONER ALSO ASKS THAT THIS COURT SUPPRESS THE
GOVERNMENT'S ANSWER AND RESPONSE BECAUSE IT VIOLATES THE
COURTS ORDER ISSUED ON MARCH 3OTH, 2010, WHICH DIRECTS THAT
THE GOVERNMENT'S ANSWER TO THE MOTION TO VACATE IS LIMITED
(EMPHASIS) TO ADDRESSING THE TIMELINESS ISSUE ONLY. SEE -
EXHIBIT "j§_". THE GOVERNMENT'S HNSWER DOES NOT ADDRESS THE
TIMELINESS ISSUE AT ALL, AND AS A RESULT SHOULD BE SUPPRESSED.

ASSUMING THAT THE COURT "SUA SPONTE" DEALS WITH THE TIME-BARR

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ISSUE, PETITIONER SUBMITS THAT THE FAILURE OF THE GOVERNMENT
TO TURN OVER EVIDENCE OF AGENT LUNSFORD'S #302 PROFFER DATED
OCTOBER 23, 2009, PREVENTED PETITIONER FROM RAISING SUCH ISSUE
TIMELY WITHIN THE TIME LIMITS SEI BY THE ANTI-EFFECTIVE DEATH
PENALTY ACT. SUCH GOVERNMENT INTERFERENCE CAUSED SUCH TIME
LIMIT TO RUN OUT. EQUITABLE TOLLTNG MUST BE GRANTED BECAUSE
THE GOVERNMENT'S INTERFERENCE WITH PETITIONER'S RIGHT TO FILE
TIMELY IS "EXCUSABLE NEGLECT".

PETITIONER FURTHER SUBMITS THAT ONCE HE RECEIVED THE #302
PROFFER IN THE GOVERNMENT'S RESPONSE THAT SUCH EVIDENCE BECAME
"NEWLY DISCOVERED EVIDENCE" THAT‘COULD NOT BE OBTAINED UNDER
THE DUE DILIGENCE STANDARD BECAUSE THE GOVERNMENT DID NOT
REVEAL SUCH UNTIL AFTER PETITIONQR FILED THE §2255 HABEAS
CORPUS ACTION. THUS GOOD CAUSE HAS BEEN ESTABLISHED FOR ANY
TIME BAR WHICH MAY BE RAISED.

PETITIONER HAS SUBMITTED THE PICTURES IDENTIFYING THE
WATCH WHICH AGENT LUNSFORD STOLE FROM HIS APARTMENT ALONG WITH
OTHER ITEMS OF PERSONAL PROPERTY¢ SEE -EXHIBIT "_ELF. FISHER
ASKS THAT THE COURT ORDER SUCH WATCH RETURNED AND THAT THE
COURT ORDER THE GOVERNMENT TO TURN OVER A COMPLETE LIST OF ALL
PROPERTY CONFISCATED FROM AGENT LUNSFORD HOUSE AT THE TIME
THAT THE GOVERNMENT EXECUTED A SEARCH WARRANT UPON AGENT
LUNSFORD'S PROPERTY.

PETITIONER LASTLY SUBMITS THAT THIS MATTER SHOULD BE
EXPEDITED BECAUSE PETITIONER IS UNLAWFULLY CONFINED UNDER THE
PRESENT TERM, AND THAT EVERYDAY SPENT INCARCERATED IS A
MISCARRIAGE OF JUSTICE. IN THE ALTERNATIVE, PETITIONER
REQUESTS THAT THIS COURT CONDUCT A BAIL HEARING AND RELEASE

PETITIONER ON BAIL WITH ELECTRONIC ANKLE MONITORING PENDING

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THE OUTCOME OF THIS APPEAL.

FOR.z§lS §E PRAYS,

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553 /z/V/
CORT FISHER #41427-037

F.C.I. FAIRTON - BOX 420

FAIRTON, NEW JERSEY 08320

DATED: JULY 13, 2010

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LIST OF EXHIBIT'S

